OPINION
Defendant-appellant Christopher Rollison appeals the April 24, 1997 Amended Judgment Entry of the Licking County Court of Common Pleas which convicted and sentenced him on one count of complicity to aggravated burglary and one count of aggravated burglary. Plaintiff-appellee is the State of Ohio.
                          STATEMENT OF THE CASE
On April 23, 1997, appellant entered no contest pleas to one count of complicity to aggravated burglary, committed on May 18, 1996, and one count of aggravated burglary, committed on May 19, 1996. The trial court found appellant guilty on both counts. Appellant was sentenced pursuant to the sentencing guidelines in existence prior to the enactment of Senate Bill 2. It is from the Amended Judgment Entry filed April 24, 1997, appellant prosecutes this appeal assigning as error:
    I. THE TRIAL COURT COMMITTED HARMFUL ERROR IN SENTENCING THE DEFENDANT-APPELLANT PURSUANT TO PRE-SENATE BILL 2 GUIDELINES, RATHER THAN PURSUANT TO SENATE BILL 2.
    II. THE FAILURE OF TRIAL COUNSEL TO OBJECT TO THE SENTENCING OF THE DEFENDANT-APPELLANT UNDER PRE-SENATE BILL 2 GUIDELINES, RATHER THAN PURSUANT TO SENATE BILL 2, DENIED THE DEFENDANT-APPELLANT HIS CONSTITUTIONAL RIGHT TO THE EFFECTIVE ASSISTANCE OF TRIAL COUNSEL.
                                 I  II
As both of appellant's assignments of error depend upon this Court's Opinion in State v. Rush (July 7, 1997), Stark App. No. 96CA149, unreported, for their success, we shall address them together. In State v. Rush (1998), 83 Ohio St.3d 53, the Ohio Supreme Court reversed this Court's decision and held, "The amended sentencing provisions of Amended S.B. No. 2 apply only to those crimes committed on or after July 1, 1996." Id. at syllabus 2. Pursuant to the Ohio Supreme Court's decision in Rush, both of appellant's assignments of error are overruled.
The April 24, 1997 Amended Judgment Entry of Licking County Court of Common Pleas is affirmed.
By: Hoffman, J. Wise, P.J. and Farmer, J. concur